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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


WESLEY RICKS (#499599)
                                                  CIVIL ACTION
VERSUS
                                                  NO. 19-399-JWD-SDJ
KEITH MINOR, ET AL.
                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report dated September 21, 2021 (Doc. 52), to which a bill of

exceptions/objection, (Doc. 53) was filed.

       IT IS ORDERED that this action is dismissed, without prejudice, for failure of

Plaintiff to serve Defendants as required by Federal Rule of Civil Procedure 4(m).

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on September 29, 2021.

                                                  S
                                      JUDGE JOHN W. deGRAVELLES
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
